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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


 EUGENE WEINER,                                         C.A. No. 4:17-cv-40144

         Plaintiff,
 v.

 RUSHMORE LOAN MANAGEMENT
 SERVICES, LLC AND MTGLQ
 INVESTORS, LP,

         Defendants.


                  PLAINTIFF’S OPPOSITION TO MOTION TO DISMISS

       Mr. Weiner lives at his home located at 108 Pratt Street, Fitchburg, Massachusetts.

(Complaint at ¶ 4). He entered into a mortgage that was subsequently assigned to MTGLQ

Investors Limited Partnership (MTGLQ) and serviced by Rushmore Loan Management Services,

LLC (Rushmore) (collectively, Defendants). (Complaint, ¶¶ 10-11; ECF No. 8, pg. 3). Mr.

Weiner subsequently defaulted on mortgage payments, and this case concerns the pre-foreclosure

actions between the parties.

       Specifically, Mr. Wiener received a letter from Rushmore dated June 27, 2017, which he

alleges provided a 60-day deadline for him to respond and accept a modification offer by

submitting some documents. (Complaint, ¶¶ 12-13). If correct, Rushmore provided a deadline

that it knew or should have known was improper, as a foreclosure sale would be scheduled and

held prior.

       Among other things, the June 27 letter stated:

       Congratulations! We are excited to make you an offer for a modification program
       that is designed to make your mortgage payments more affordable and help you
       keep your home.



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        TO ACCEPT THIS OFFER
        Provide documentation of your monthly income and expense information. If your mortgage
        payment to monthly income ratio is less than 35% and your total monthly expenses
        (including your mortgage payment) to monthly income ratio is less than 55%; you will be
        provided with modification terms, a three month trial plan with a new principal balance of
        $125,000 and an estimated monthly payment of $857.60. If you make all three payments
        successfully, we will permanently modify your mortgage loan!

        TIME IS OF THE ESSENCE…
        This modification program is based upon a valuation dated 05/16/2017. Please note
        that the estimated monthly payment assumes escrow amounts for taxes and insurance
        remain unchanged. As a part of this modification if you are not already escrowed, we
        will establish an escrow account for you. An escrow analysis will be complete once
        this offer is accepted. Tax and insurance amounts may adjust upwards or downwards
        based on this analysis. In the event we have not heard from you within 60 days from
        the date of this offer, you still may be eligible for this program; however a new
        valuation will be required. The estimate amount of debt forgiveness may change. All
        other terms of this offer would remain applicable.

(Complaint, Ex. A).

        Mr. Weiner reasonably read this letter to state that documents were due within 60

days. No other deadlines appear anywhere in the letter, and Rushmore had a history of

including specific deadlines in cover letters just like it did here.

        In fact, prior to the June 27 letter, Rushmore had sent Mr. Weiner two solicitations to

apply for a loan modification. The first, on September 9, 2016, included in the cover letter a

request that the application documents be received within 15 days. (Exhibit A).1 The second, on

October 4, 2016, included in the cover letter a request that the application documents be received

by October 20, 2016. (Exhibit B). Finally, this June 27 letter included in the cover letter a

request that the documents be received within 60 days.

        Defendants do not propose any alternative reading of this cover letter. Instead,

they rely entirely on language contained on page twenty-one (21) of the document. This

language states:


1
 Pursuant to Fed. R. Civ. P. 12(d), the Court may consider the Exhibits annexed to this Opposition, as Defendants’
Motion to Dismiss included matters outside of the Complaint.

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     WHAT IF MY PROPERTY IS SCHEDULE FOR A FORECLOSURE SALE?
      In general, we will not evaluate a Borrower Assistance Application that is submitted
       shortly before a scheduled foreclosure sale date. This means that, in general, in
       order for your Application to be evaluated, your complete Borrower Assistance
       Application must be received by Rushmore:
           o For HAMP eligible loans: at least 7 business days prior to the scheduled
               foreclosure sale date
           o If the property is in California, Minnesota, Nevada or Washington and
               is your primary residence: at least 7 business days prior to the
               scheduled foreclosure sale date
           o For all other loans: at least 38 calendar days prior to the scheduled
               foreclosure sale date
      If a foreclosure sale is pending but there is no specific date scheduled for the
       sale, a court with jurisdiction over the foreclosure or a public official charged
       with carrying out the sale may not halt the sale even if we approve you for a
       foreclosure alternative prior to the sale.

(EFC No. 8, Ex. 10) (emphasis in original). As explained below, there are two obvious issues

with this language, including: (1) that there’s no obvious conflict between these two passages

and (2) that even if there were a conflict, Mr. Wiener would have had no way to know about it at

the time. Notice of the foreclosure sale wasn’t published until July 24, 2017 (ECF No. 8, Pg. 5),

at which point the purported 38-day deadline would have already run. In fact, as explained

below, acceptance of Defendants’ arguments would result in a seven (7) day deadline, which is

nowhere supported, suggested, or implied in this document.



I.      LEGAL STANDARD

        On a motion to dismiss the Court must accept all factual allegations in the complaint as

true and draw all reasonable inferences in the plaintiff's favor. Langadinos v. American Airlines,

Inc., 199 F.3d 68, 68 (1st Cir. 2000). To survive, a complaint must merely state a claim that is

plausible on its face. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d

929 (2007). In other words, "[f]actual allegations must be enough to raise a right to relief above

the speculative level, ... on the assumption that all the allegations in the complaint are true (even

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if doubtful in fact) . . . The plausibility standard is not akin to a `probability requirement,' but it

asks for more than a sheer possibility that a defendant has acted unlawfully.” Bosque v. Wells

Fargo Bank, N.A., 762 F. Supp. 2d. 342, 350 (D. Mass. 2011) (citations and quotations omitted).

Alternatively, dismissal is appropriate only where the well-pleaded facts do not "possess enough

heft to show that plaintiff is entitled to relief." Ruiz Rivera v. Pfizer Pharms., LLC, 521 F.3d 76,

84 (1st Cir.2008) (citation omitted).


II.     ARGUMENT

        Mr. Wiener has filed a four-count complaint against the Defendants in this action.

However, Counts 1 and 2 essentially involve the same facts, and Counts 3 and 4 essentially

involve the same facts. Accordingly, there are predominately two issues in this case: (1) the June

27 letter from Rushmore to Mr. Wiener, and (2) the pre-foreclosure affidavits signed by

Rushmore as power of attorney for MTGLQ. Each of those issues will be discussed below,

respectively.


        A. The June 27 Letter Was False, Deceptive, Or Misleading In Violation of the Fair
           Debt Collection Practices Act.

        Defendants’ Motion to Dismiss correctly identifies three elements necessary for a viable

claim under the Fair Debt Collection Practices Act (FDCPA). Specifically, Defendants stated

that a “viable claim for violation of the FDCPA requires that a plaintiff establish three elements: (1)

that [he] was the object of collection activity arising from consumer debt, (2) defendants are debt

collectors as defined by the FDCPA, and (3) defendants engaged in an act or omission prohibited by

the FDCPA.” O’Connor v. Nantucket Bank, 992 F. Supp. 2d 24, 30 (D. Mass. 2014) (citations and

quotations omitted). Because Defendants explicitly limited their Motion to Dismiss to the third

element, Mr. Weiner need not now address the first two.


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       Mr. Wiener alleges that the June 27 letter violated the FDCPA because it was false,

deceptive, or misleading in violation of 15 U.S.C. § 1692e. Specifically, he alleges that the letter

provided for a 60-day deadline to respond. However, he alleges that Defendants knew or should

have known at that time that a foreclosure sale would occur prior to that 60-day deadline.

Defendants’ Motion to Dismiss does not argue that such an improper deadline wouldn’t run afoul

of the FDCPA. See Miller v. BAC Home Loans Servicing, L.P., 726 F.3d 717 (5th Cir. 2013)

(denying motion to dismiss by a mortgage servicer who encouraged a homeowner to apply

timely for a mortgage modification, but when the due date was after a foreclosure sale was

scheduled).

       Instead, Defendants solely allege that Mr. Wiener’s reading of the June 27 letter is

“chimerical” and “far-fetched” and that the case should be dismissed on that basis. As explained

below, though, Mr. Weiner’s interpretation of the letter is entirely reasonable.

       The FDCPA “was not made for the protection of experts, but for the public – that vast

multitude which includes the ignorant, the unthinking, and the credulous . . . and the fact that a

false statement may be obviously false to those who are trained and experienced does not change

its character, nor take away its power to deceive others less experienced.” Jeter v. Credit Bureau,

Inc. 760 F.2d 1168, 1173 (11th Cir. 1985).

       The operative consumer viewpoint from which FDCPA cases such as this should be

judged has traditionally been referred to as a “least sophisticated consumer” standard. While

courts that adopt this standard generally include an element of reasonableness, this Circuit has

adopted a “hypothetical unsophisticated consumer” standard due to grammar concerns. Pollard v.

Law Office of Mandy L. Spaulding, 766 F.3d 98, 103 n.4 (1st Cir. 2014). Otherwise, if taken literally,

the “least sophisticated consumer” would be “the very last rung on the sophistication latter” and

would potentially include consumers who lack any reading comprehension skills. Gammon v. GC

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Services, 27 F.3d 1254, 1257 (7th Cir. 1994). The different terminology, though, is merely a matter

of semantics and there is little difference between the two. Pollard v. Law Office of Mandy L.

Spaulding, 766 F.3d 98, 103 n.4 (1st Cir. 2014).

        In this case, Mr. Weiner alleges that Defendants violated the FDCPA by suggesting that

he could timely apply for a loan modification within 60 days when it knew or should have

known that that was inaccurate. Among other things, the June 27 letter stated:

        Congratulations! We are excited to make you an offer for a modification program
        that is designed to make your mortgage payments more affordable and help you
        keep your home.

        TO ACCEPT THIS OFFER
        Provide documentation of your monthly income and expense information. If your mortgage
        payment to monthly income ratio is less than 35% and your total monthly expenses
        (including your mortgage payment) to monthly income ratio is less than 55%; you will be
        provided with modification terms, a three month trial plan with a new principal balance of
        $125,000 and an estimated monthly payment of $857.60. If you make all three payments
        successfully, we will permanently modify your mortgage loan!

        TIME IS OF THE ESSENCE…
        This modification program is based upon a valuation dated 05/16/2017. Please note
        that the estimated monthly payment assumes escrow amounts for taxes and insurance
        remain unchanged. As a part of this modification if you are not already escrowed, we
        will establish an escrow account for you. An escrow analysis will be complete once
        this offer is accepted. Tax and insurance amounts may adjust upwards or downwards
        based on this analysis. In the event we have not heard from you within 60 days from
        the date of this offer, you still may be eligible for this program; however a new
        valuation will be required. The estimate amount of debt forgiveness may change. All
        other terms of this offer would remain applicable.

(Complaint, Ex. A).

        Mr. Weiner reasonably read this letter to state that documents were due within 60

days. No other deadlines appear anywhere in the document, and Rushmore had a history

of including specific deadlines in cover letters just like it did here.




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       Defendants do not propose any alternative reading of this cover letter. Instead,

they rely entirely on language twenty-one (21) pages into the document, which they

contend implicitly contradicts or limits Mr. Weiner’s reading. This language states:

   WHAT IF MY PROPERTY IS SCHEDULE FOR A FORECLOSURE SALE?
    In general, we will not evaluate a Borrower Assistance Application that is submitted
     shortly before a scheduled foreclosure sale date. This means that, in general, in
     order for your Application to be evaluated, your complete Borrower Assistance
     Application must be received by Rushmore:
         o For HAMP eligible loans: at least 7 business days prior to the scheduled
             foreclosure sale date
         o If the property is in California, Minnesota, Nevada or Washington and
             is your primary residence: at least 7 business days prior to the
             scheduled foreclosure sale date
         o For all other loans: at least 38 calendar days prior to the scheduled
             foreclosure sale date
    If a foreclosure sale is pending but there is no specific date scheduled for the
     sale, a court with jurisdiction over the foreclosure or a public official charged
     with carrying out the sale may not halt the sale even if we approve you for a
     foreclosure alternative prior to the sale.

(EFC No. 8, Ex. 10). There two obvious failings with Defendants’ reliance on this language.

       First, it would not be clear to a hypothetical unsophisticated consumer that this language

conflicts in any way with the 60-day deadline. At the time Mr. Wiener received this letter, he had

not been notified that a foreclosure sale was scheduled. He therefore had no basis to conclude

that there was any conflict between these passages.

       Second, even if Mr. Weiner was aware that this language might conflict with the 60-day

deadline, it would have been impossible for him to determine what the actual deadline was.

Notice of the foreclosure sale wasn’t published until July 24, 2017 (ECF No. 8, Pg. 5), at which

point the purported 38-day deadline would have already run. Only by knowing what the

foreclosure date was could he be able to calculate the deadline.

       The foreclosure date was August 14, 2017. As a result, Rushmore is now arguing that the

deadline for Mr. Weiner to respond to the modification offer was July 7, 2017, which was 38

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calendar days before the sale. Assuming that the June 27 modification offer took three days to

arrive in the mail, this would have given Mr. Wiener a total of seven (7) days to respond

(including the July 4th legal holiday). Nowhere does this document state or suggest anything

close to a seven (7) day deadline. Moreover, it would be illogical to conclude that a hypothetical

unsophisticated consumer would understand there to be a seven (7) day deadline. Any argument

that Mr. Weiner’s reading of the June 27 letter was “chimerical” or “far-fetched” is therefore

baseless.

       Moreover, it should be noted that Defendants’ Motion to Dismiss fails to explain why it

scheduled a foreclosure sale after Mr. Wiener had been offered a loan modification. Rushmore

itself identifies this letter as a modification offer (Exhibit C), and distinguishes it from other

traditional modification solicitations that had been sent previously. See Palacios v. Ditech

Financial, LLC, C.A. No. 15-CV-14044-LTS (D. Mass. 2016) (denying Motion to Dismiss G.L.

c. 93A claim where mortgage company offered a loan modification but then scheduled a

foreclosure sale due to illegal dual-tracking).

       Accordingly, Mr. Weiner has stated a plausible claim that the June 27 letter was false,

deceptive, or misleading in violation of the FDCPA. Defendants’ Motion to Dismiss should

therefore be denied.


       B. The June 27 Letter Was Unfair or Deceptive under the Massachusetts Consumer
          Protection Act.

       The Second Count of Mr. Wiener’s Complaint alleges that the June 27 letter was unfair

and/or deceptive in violation of the Massachusetts Consumer Protection Act (MCPA) G.L. c.

93A, § 2. While this claim is also premised on the improper deadline issue briefed above, it is

listed separately here in order to confirm that it is not a “per se” claim. That is, Mr. Wiener does



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not allege that Defendants violated the MCPA merely because they violated the FDCPA. See

McDermott v. Marcus, Errico, Emmer & Brooks P.C., 775 F.3d 109 (1st Cir. 2014). Rather, Mr.

Wiener contends that the same issues briefed above also – on their merits – constitute unfair or

deceptive actions in violation of the MCPA.

          Although the terms “unfair” and “deceptive” are not defined in the statute, courts have

typically found a practice to be unfair if it is “(1) within at least the penumbra of some common-

law, statutory, or other established concept of unfairness; (2) whether it is immoral, unethical,

oppressive, or unscrupulous; [or] (3) whether it causes substantial injury to consumers.” PMP

Associates, Inc. v. Globe Newspaper Co., 366 Mass. 593, 596, 321 N.E.2d. 915, 917 (1975).

Furthermore, “an act or practice is deceptive it is possesses a tendency to deceive. In determining

whether an act or practice is deceptive, regard must be had, not to fine spun distinctions and

arguments that may be made in excuse, but to the effect which it might reasonably be expected to

have upon the general public.” Leardi v. Brown, 394 Mass. 151, 156, 474 N.E.2d 1094, 1099

(1985).

          In this case, Mr. Weiner alleges that the above-referenced actions fall well-within this

standard. Accordingly, he has stated a plausible claim that the June 27 letter was unfair and/or

deceptive in violation of the MCPA. Defendants’ Motion to Dismiss should therefore be denied.


          C. Defendants Failed to Duly Record Affidavits under G.L. c. 244, §§ 35B and 35C.

          In 2012, Massachusetts amended its state foreclosure laws to include G.L. c. 244, §§ 35B

and 35C. These statutes were specifically enacted to benefit homeowners, as their stated purpose

was to “prevent unnecessary foreclosures.” An Act Preventing Unlawful and Unnecessary

Foreclosures, St. 2012, c. 194 (Mass. 2012) (enacted). Each statute has a separate purpose.

Under § 35B, certain mortgage loans may be entitled to a loan modification review that, if

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approved, would prevent an otherwise unnecessary foreclosure. Under § 35C, creditors must also

certify that the mortgagee is the holder of both the mortgage and the promissory note. Under

both §§ 35B and 35C, a creditor must file an affidavit at the appropriate registry of deeds

certifying compliance, prior to publishing a notice of a foreclosure sale.

        In this case, Defendants have failed to duly record those affidavits. While both §§ 35B

and 35C state that an affidavit can be signed by a “duly authorized agent” of the creditor, the

regular non-foreclosure laws regarding real estate still apply. Specifically, G.L. c. 183, § 32

provides that the laws regarding acknowledgment and recording of deeds apply to powers of

attorney. Accordingly, when a document filed with the registry of deeds is executed under a

power of attorney, that power of attorney document must also be recorded at the registry. Ramos

v. Jones, 2015 WL 653260 at 4, n.7 (Mass. Land. Ct. Feb. 12, 2015) (“[P]owers of attorney

would have had to have been recorded in order to be effective with respect to the rights of any

outside party.”).

        In this case, the affidavits filed by Defendants explicitly state that they were signed under

a power of attorney recorded with the Southern Middlesex County Registry of Deeds. That is the

wrong registry. The correct Registry of Deeds for Mr. Weiner’s property is the Northern

Worcester County Registry of Deeds. See G.L. c. 183, § 4 (documents must be “recorded in the

registry of deeds for the county or district in which the land to which it relates lies.”).

Accordingly, Mr. Weiner has asserted that the affidavits were not duly recorded. (Complaint at

¶¶ 52-67).

        Defendants have asserted three failing counter-arguments on this point. First, they argue

that the power of attorney didn’t need to be recorded. Next, they argue that the power of attorney

was actually recorded correctly, even though the affidavits failed to say so. Finally, they argue



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that the Court should accept the fiction that Rushmore signed the affidavits in its capacity as a

mortgage servicer, even though the affidavits explicitly state otherwise. Each of these failing

counter-arguments will be addressed below, respectively.

       1. Rushmore Was Required to Record Its Power of Attorney.

       Over the past several years, there has been significant litigation in the field of foreclosure

law regarding which foreclosure statutes require strict compliance versus mere substantial

compliance. Earlier this year, the Supreme Judicial Court clarified the status of this law in Turra

v. Deutsche Bank Trust Company Americas, 476 Mass. 1020 (2017). In Turra, the SJC held that

strict compliance is required with regard to actions that are both: (1) taken by the foreclosing

party that are part of the foreclosure process and that occur prior to the actual foreclosure, and (2)

between the mortgagee and mortgagor, where a potential harm to the mortgagor might exist if

the mortgagee fails to strictly comply.

       To date, counsel for Mr. Weiner is unaware of any binding precedent regarding the

necessary level of compliance required under the provisions of §§ 35B or 35C. However, it

seems clear that each of these statutes meet both prongs of Turra. First, both statutes specifically

set out a requirement that the affidavits in issue must be recorded before a notice of foreclosure

sale can be published. Second, the statutes directly govern the relationship between the parties

and Mr. Weiner certainly faces a potential risk of harm if §§ 35B or 35C are not complied with.

As previously stated, the explicit purpose of these statutes are to prevent unnecessary

foreclosures. And the specific purpose of the affidavits at issue is to ensure that those statutes are

complied with.

       Moreover, the case law on this issue supports Mr. Weiner’s argument. In Afridi v.

Residential Credit Solutions, 189 F. Supp. 3d 193 (D. Mass. 2016), the U.S. District Court for



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the District of Massachusetts held that the failure of a foreclosing mortgagee to record an

affidavit from a duly authorized agent under § 35B may strip it of standing to foreclose. In that

case, as here, a purported affidavit had been recorded at the appropriate registry of deeds, but it

was signed by a third party under a power of attorney that had not been recorded at that same

registry of deeds. This case presents essentially the same issue. As in that case, the Defendants

here essentially rely on an implicit substantial compliance argument.

       In fact, Defendants’ first argument asserts that no compliance with §§ 35B and 35C was

required because the affidavits were notarized under G.L. c. 183, § 54B. This argument is

entirely misplaced. Section 54B provides that when certain documents are signed before a notary

public they “shall be binding upon such entity and shall be entitled to be recorded, and no vote of

the entity affirming such authority shall be required to permit recording.” The statute stands for

the proposition that when a document is signed on behalf of a business entity, a corporate

resolution providing the signatory with authority to bind the company is not needed.

Accordingly, “The statute binds only the entity making and recording the [document], if such

action has been made in compliance with its provisions. The statute does not bind any other party

that has standing to contest [its] validity.” Wells Fargo Bank, N.A. v. Anderson, 89 Mass. App.

Ct. 369, 371 (2016).

       In this case, both of the affidavits at issue were signed Barkley Sutton, who purported to

be an Assistant Vice President with authority to bind Rushmore. If Mr. Weiner were alleging that

Mr. Sutton didn’t have authority to sign these documents for Rushmore, then § 54B would be

applicable, since both documents appear to be notarized. However, that is not what Mr. Weiner

is arguing. Instead, Mr. Weiner argues that Rushmore itself, did not have the requisite authority

to sign these documents as a duly authorized agent of MTGLQ under G.L. c. 244, §§ 35B and



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35C, because the power of attorney was not recorded (or not within the chain of title for his

property) under G.L. c. 183, § 32. If Defendants’ arguments to the contrary are accepted by the

Court, it would render G.L. c. 183, § 32 superfluous.

        The purpose of § 54B is to make the process for recording corporate documents easier,

and to prevent potentially frivolous claims regarding the same. Essentially, the idea is that a

notary public’s responsibility is to confirm the identity and authority of a signor, and therefore so

long as a document is notarized it is binding on the entity the signor represents, and no further

evidence of authority is needed. Such a document, the statute says, “shall be binding upon such

entity and shall be entitled to be recorded, and no vote of the entity affirming such authority shall

be required to permit recording.” As a result, certificates of authority do not need to be recorded

along with every document signed by a person on behalf of an entity.

        Defendants erroneously rely on dicta taken out of context from Clockedile v. U.S. Bank

Trust, N.A., 189 F. Supp. 3d 312 (D. Mass. 2016) on this point. In Clockedile, the Court’s dicta

suggests that the recording of a power of attorney under § 54B is not required, but rather permissible

because the statute merely states that they “shall be entitled to be recorded.” Respectfully, this

reading would render G.L. c. 183, § 32 superfluous and, when viewed in context in the statute, is

not what the plain language of the statute says. Rather, the statute plainly states that such a

document may be recorded without a certificate of authority from the signing entity.

        As a result, § 54B plainly does not apply to this circumstance and the affidavits directly

show that there was no duly recorded power of attorney for purposes of G.L. c. 244, §§ 35B and

35B, and G.L. c. 183, § 32.




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       2. Defendants Cannot Rely On An Unidentified Document Outside The Chain Of
          Title.

       Defendants next cite to a previously unidentified power of attorney that is outside the

chain of title to Mr. Weiner’s property. While this power of attorney was recorded at the

Northern Worcester County Registry of Deeds, it is not Mr. Weiner’s burden to sift through the

hundreds of other recorded powers of attorney looking for a potential needle in a haystack,

particularly when the purported source of authority to sign the power of attorney in this case was

plainly stated on the document itself. The documents at issue in this case plainly state that they

were signed pursuant to a power of attorney “recorded with Middlesex South Registry of Deeds

in Book 66837, Page 131.” (Complaint, Ex. G, Ex. H).

       Accordingly, there should be no doubt that the document relied upon by Defendants is

outside the chain of title for Mr. Weiner’s property, and cannot be relied upon.

       3. Rushmore Did Not – And Could Not – Sign The Affidavits In Its Authority As A
          Mortgage Servicer.

       Finally, and perhaps most creatively, Defendants argue that the Court should accept the

fiction that Rushmore signed the affidavits at issue in its role as a mortgage servicer, under the

assumption that no power of attorney would then be required. This argument fails on two counts.

       First, the documents plainly state that they were signed by “MTGLQ Investors, LP by

Rushmore Loan Management Services, LLC, Its Appointed Attorney in Fact.” (Complaint, Ex.

G, Ex. H). The affidavits further identify Mr. Sutton as, “An officer or employee of duly

authorized agent of Foreclosing Mortgagee, under a Power of Attorney which is still in full force

and effect as of the date hereof.” Id. The plain language of these documents leave no doubt that

Rushmore executed the documents in its capacity as a purported power of attorney, and not as a

mortgage servicer.



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       Moreover, Rushmore did not have the authority to sign these affidavits in its capacity as a

mortgage servicer. Both §§ 35B and 35C speak in terms of publishing a notice of foreclosure

sale. Section 35B states that “A creditor shall not cause publication of notice of a foreclosure

sale, as required by section 14, upon certain mortgage loans unless it has first taken reasonable

steps and made a good faith effort to avoid foreclosure.” Section 35C states that “A creditor shall

not cause publication of notice of foreclosure, as required under section 14, when the creditor

knows or should know that the mortgagee is neither the holder of the mortgage note nor the

authorized agent of the note holder.”

       In this case, the “creditor” who published the notice of sale was MTGLQ (ECF No. 8, Ex.

9). As a result, it was MTGLQ who needed to file the requisite affidavits under §§ 35B and 35C.

It purportedly sought to accomplished this by filing documents signed by Rushmore, in its

capacity as an authorized agent under a power of attorney. If this were otherwise, then MTGLQ

would be admitting that it didn’t file these affidavits and therefore didn’t have the authority to

publish the notice of sale.

       Accordingly, Mr. Weiner has a plausible claim for relief and Defendants’ Motion to

Dismiss should be denied.


III.   CONCLUSION

       For the foregoing reasons, Mr. Weiner respectfully requests that the Court deny

Defendants’ Motion to Dismiss.




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                                              Respectfully submitted,

                                              Plaintiff,
                                              Eugene Weiner
                                              By counsel,



                                              /s/ Christopher M. Brine
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November 27, 2017


                                 CERTIFICATE OF SERVICE

I, Christopher M. Brine, certify that the documents filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                              /s/ Christopher M. Brine
                                              Christopher M. Brine (BBO 679289)




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